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                                  Nos. 25-1397 (L); 25-1398

                         UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT


                                   JEFFERSON GRIFFIN,
                                              Plaintiff-Appellee,

                                                 v.

                   NORTH CAROLINA STATE BOARD OF ELECTIONS,
                                         Defendant-Appellant,

            ALLISON RIGGS, NORTH CAROLINA ALLIANCE FOR RETIRED
          AMERICANS, VOTEVETS ACTION FUND, TANYA WEBSTERDURHAM,
                    SARAH SMITH, AND JUANITA ANDERSON,
                                        Intervenor-Appellants.


                        On Appeal from the United States District Court
                          for the Eastern District of North Carolina
                                    Case No. 5:24-cv-731


                     APPELLEE’S CONSOLIDATED RESPONSE
                 TO MOTIONS FOR INJUNCTION PENDING APPEAL


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                                          INTRODUCTION
               Movants appeal a non-appealable temporary restraining order that the district

        court partially granted. If the posture is extraordinary, the merits are more extraordinary

        still: Movants seek to enjoin enforcement of a judgment of the North Carolina Supreme

        Court applying state law to a state election dispute. “Had the framers wished the federal

        judiciary to umpire election contests, they could have so provided.” Hutchinson v. Miller,

        797 F.2d 1279, 1288 (4th Cir. 1986). But “[o]ur constitution does not contemplate that

        the federal judiciary routinely will pass judgment on particular elections” for “state”

        office. Id. at 1280.

               The last time these same parties rushed to the Fourth Circuit, this Court said

        they were too early. See Griffin v. Riggs, Doc. 132, No. 25-1018 (4th Cir. Feb. 4, 2025).

        They are too early again. The district court granted the Movants’ TRO request in part,

        staying certification of the election and expediting briefing on the federal issues. In just

        a few hours, Judge Griffin is filing a brief in the district court on those issues. Until the

        district court rules on those pending preliminary-injunction motions, this Court lacks

        jurisdiction.

                                            BACKGROUND
               This state election contest began when Judge Griffin alleged that illegal votes

        were cast in the North Carolina Supreme Court election. The State’s highest court

        confirmed that Judge Griffin was right. Griffin v. N.C. State Bd. of Elections, 2025 WL

        1090903, at *3 (N.C. Apr. 11, 2025) (“Griffin II”). It held that the state constitution


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        prohibits “never residents”—persons “who have never been domiciled or resided in

        North Carolina or expressed an intent to live in North Carolina”—from voting in state

        elections. Id. It also held that state law requires overseas voters who submit absentee

        ballots to provide “photo identification.” Id. Because that error is curable, the Court

        gave the overseas voters “thirty calendar days after the mailing of notice” to “cure

        deficiencies arising from lack of photo identification.” Id.

                 Dissatisfied with that ruling, Movants filed preliminary-injunction and TRO

        motions in the district court. 1 The court granted the motions in part, staying

        certification of the election and expediting briefing on the federal claims. Apr. 12

        Minute Order.2 Still dissatisfied, Movants seek further relief from this Court. They claim

        that beginning the notice-and-cure process—even if election certification is stayed

        pending resolution of their federal claims—will cause them irreparable harm. Movants

        demand that this Court enjoin the “parties from taking any action to enforce or

        effectuate the state-law remedy” ordered by the North Carolina Supreme Court. Riggs

        Br.21.




        1
          Movants are Justice Riggs and the three groups led by the League of Women Voters
        of North Carolina, the North Carolina Democratic Party, and VoteVets. Judge Griffin
        is a party only in the consolidated case (25-1397), but he directs this response to all four
        motions filed in Nos. 25-1397, 25-1399, and 25-1401.
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          Unless otherwise noted, minute orders and “Doc.” numbers refer to the consolidated
        docket in No. 5:24-cv-731 (E.D.N.C.).

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                                              ARGUMENT
               “[A]n injunction pending appeal” is an “‘extraordinary and drastic remedy.’” Wise

        v. Circosta, 978 F.3d 93, 96, 103 (4th Cir. 2020) (en banc). To prevail, Movants must

        make “a strong showing” that they are “likely to succeed on the merits;” that they “will

        be irreparably injured” absent relief; that the relief will not “substantially injure the other

        parties interested in the proceeding,” and that “the public interest” favors issuing the

        injunction. Hilton v. Braunskill, 481 U.S. 770, 776 (1987) (citing Fed. R. App. P. 8(a)).

        The “remedy would be particularly extraordinary here, where the injunction would be

        granted by a federal appellate court in the first instance—after a federal trial court …

        declined to do so,” and after a state supreme court ordered the conduct Movants seek to

        enjoin. Wise, 978 F.3d at 96.

         I.    This Court lacks jurisdiction over the appeals.
               “[T]he Courts of Appeals generally lack appellate jurisdiction over appeals from”

        orders granting or denying “TROs.” Dep’t of Educ. v. California, 145 S. Ct. 966, 968

        (2025). The point of a TRO is “to preserve the opportunity to rule in orderly fashion

        upon a request for longer-lasting preliminary relief.” Wright & Miller, Federal Practice &

        Procedure §3922.1 (2012). That’s what the district court did here. In a Sunday order, the

        court enjoined certification of the election pending resolution of Justice Riggs’

        preliminary-injunction motion, and it expedited briefing “to facilitate prompt resolution

        of this matter.” Apr. 12 Minute Order. Two days later, the court consolidated other

        cases raising similar issues “to promote judicial economy.” Apr. 14 Minute Order.


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               Movants can’t get around these well-established rules by reclassifying the district

        court’s minute orders as denials of the preliminary-injunction motions. The district

        court didn’t “deny[] the substance of Justice Riggs’ motion.” Contra Riggs Br.8. It

        “GRANTED” the “PART” of the motion that requested a stay of election certification,

        preserving review of the remaining issues after expedited briefing. Apr. 12 Minute

        Order. Movants also can’t reclassify the minute orders as granting any injunction. By

        “direct[ing] the North Carolina State Board of Elections ‘to proceed in accordance with

        the North Carolina Court of Appeals opinion,’” the district court “did nothing more

        than decline to interfere” with the judgments issued “by the North Carolina Court of

        Appeals and North Carolina Supreme Court.” Doc.60 at 2. Movants misconstrue the

        district court’s order as requiring the Board of Elections to “commence” the cure

        process. LWV Br.22. But those state court judgments apply of their own force. The

        state courts, not the district court, are currently handling disputes over the scope of the

        remedy.

               To the extent the district court denied any relief that weekend, it was only the

        part of the TRO motion requesting immediate, complete relief on the federal claims.

        As the district court explained, “Justice Riggs styled her motion as one for an

        ‘injunction,’ but she requested ‘Immediate Relief’ on an ‘Emergency’ basis.” Doc.60 at

        2 n.1 (quoting Doc.40 at 1). Following binding precedent, the district court “treated her

        motion as one for a temporary restraining order.” Id. (citing Granny Goose Foods, Inc. v.

        Bhd. of Teamsters & Auto Truck Drivers, 415 U.S. 423, 432 n.7 (1974); Ciena Corp. v. Jarrard,

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        203 F.3d 312, 319 (4th Cir. 2000)). Those cases indicate that preliminary-injunction

        proceedings generally “contemplate[] notice of at least two days, with a meaningful

        opportunity to prepare for the hearing” before the court rules on a preliminary-

        injunction motion. Granny Goose, 415 U.S. at 432 n.7. Here, the district court “obviously

        felt” that only one side’s briefing “was not a sufficient basis for ruling on the preliminary

        injunction.” Id.

               So the district court didn’t deny a preliminary injunction—it granted a TRO in

        part and expedited briefing on the remaining issues. Any doubt about that fact is put to

        rest by the other Movants, who styled their motions as requests for “Temporary

        Restraining Order[s].” Doc.36, No. 5:24-cv-699; Doc.12, 5:25-cv-193. That Justice

        Riggs was vague about the relief she sought does not change the nature of the district

        court’s decision.

               Movants appeal the denial of a TRO, but none try to justify this Court’s

        jurisdiction. Generally, “temporary restraining orders are not appealable.” Wright &

        Miller, supra, §3922.1. Although TROs are sometimes appealable when they resemble a

        preliminary injunction, the district court’s minute orders carry none “of the hallmarks

        of a preliminary injunction.” Dep’t of Educ., 145 S. Ct. at 968. The orders do not “run[]

        beyond the twenty-eight-day maximum set for a temporary restraining order” under

        Rule 65(b)(2). Wright & Miller, supra, §3922.1. The district court has not yet “held” an

        “adversary hearing” on the motions. Sampson v. Murray, 415 U.S. 61, 87 (1974). And the

        parties have not yet “had an opportunity to file extensive written materials and present

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        oral argument.” Bennett v. Medtronic, Inc., 285 F.3d 801, 804 (9th Cir. 2002). That the

        court expedited those deadlines shows that its order “possess[es] the essential features

        of a temporary restraining order,” and thus should not be “treated like a preliminary

        injunction.” Id.

               Ignoring these principles will hinder resolution of this case at all levels. Taking

        up these issues out of order will “intrude on the ability of the district court to proceed

        promptly to an expanded hearing and determination of the preliminary injunction

        request.” Wright & Miller, supra, §3922.1. Judge Griffin now has briefs due in this Court

        and the district court on the same day. This Court instructed the district court to

        consider the federal issues “after the resolution of the state court proceedings.” Griffin,

        Doc. 132, No. 25-1018. But if this Court were to step in now, it would undermine the

        district court’s careful balance of this Court’s mandate and the need “to facilitate

        prompt resolution of this matter.” Apr. 12 Minute Order. When this Court “lack[s]

        jurisdiction” over a non-appealable “denial” of a “temporary restraining order,” the

        solution is to “den[y]” the motion and “dismiss[]” the appeal. Drudge v. McKernon, 482

        F.2d 1375, 1376 (4th Cir. 1973).

         II.   Movants don’t show how they will suffer irreparable harm after the district
               court awarded partial relief.
               Even if this Court had jurisdiction, Movants have not shown that they will suffer

        irreparable harm. The district court partially “GRANTED” Movants’ request for

        emergency relief. Apr. 12 Minute Order. By ordering that the Board “SHALL NOT



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        certify the results of the election, pending further order,” id., the Court resolved

        Movants’ concerns that the disputed votes would not be counted. To obtain further relief

        from this Court, it’s not enough to show that counting those votes would violate federal

        law; the district court’s order preserves the status quo to resolve those questions. Rather,

        Movants must show—as they admit—that the relief “ordered by the district court” on

        April 12 “violates both the U.S. Constitution and this Court’s mandate.” Riggs Br.9.

               No Movant identifies an irreparable harm they will suffer over the next two

        weeks as the district court resolves the pending preliminary injunctions. Movants repeat

        their refrain that not counting the disputed votes will “disenfranchise” voters. E.g.,

        Riggs Br.13. But until “further order” of the district court, no disputed votes will be

        removed from the final tally. Apr. 12 Minute Order. So Movants’ allegations of

        disenfranchisement ring hollow. Movants claim that ballots will be “identified for

        removal,” NCDP Br.19, and “presumptively omitted from the count,” LWV Br.18

        (cleaned up). But no ballots will be removed from the count unless the district court

        denies Movants’ preliminary-injunction motions.

               Because Movants can’t point to the removal of ballots, they suggest that a

        “burdensome cure process” will harm voters. VV Br.18. But the opportunity to cure

        deficient ballots isn’t a burden at all. It’s process. In fact, it’s a process Movants routinely

        argue is constitutionally required. The League of Women Voters “moved for a

        preliminary injunction” in South Carolina “notice and the opportunity to cure

        [signature] deficienc[ies].” League of Women Voters of S.C. v. Andino, 849 F. App’x 39, 41

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        (4th Cir. 2021). The Democratic Party petitioned the Pennsylvania Supreme Court to

        require the state board of elections to “contact qualified electors whose mail-in or

        absentee ballots contain minor facial defects … and provide them with an opportunity

        to cure those defects.” Pa. Democratic Party v. Boockvar, 238 A.3d 345, 372 (Pa. 2020). The

        Alliance for Retired Americans sought a preliminary injunction against the Maine

        Secretary of State to provide every “voter notice and an opportunity to cure their ballot

        or verify their identity.” All. for Retired Ams. v. Sec’y of State, 240 A.3d 45, 48 (Me. 2020).

               Now, Movants change their tune. Those same organizations argue that the North

        Carolina Supreme Court’s generous post-election cure procedures are too burdensome

        for voters. But “[a] photo identification requirement” doesn’t “even represent a

        significant increase over the usual burdens of voting.” Crawford v. Marion Cnty. Election

        Bd., 553 U.S. 181, 197-98 (2008) (plurality op.). Much less does a notice and 30-day

        opportunity to cure an I.D. requirement impose “irreparable injury.” Contra LWV Br.19.

               Even less plausible are the alleged burdens on Justice Riggs or the private interest

        groups. Justice Riggs argues that “permitting the cure process to proceed will force

        Justice Riggs to invest substantial resources helping voters to cure their ballots.” Riggs

        Br.20. The Democratic Party claims it will need to “devote limited time and resources

        to contact [noncompliant voters] and convince them to participate” in the cure process.

        NCDP Br.19. VoteVets says it will have to “rapidly deploy scarce resources” to contact

        those noncompliant voters. VV Br.20. But “[m]ere injuries, however substantial, in

        terms of money, time and energy necessarily expended in the absence of an injunction

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        are not enough.” Roe v. Dep’t of Def., 947 F.3d 207, 228 (4th Cir. 2020) (cleaned up). And

        Movants haven’t explained why these alleged expenses are necessary since the Board is

        providing notice. “[S]elf-inflicted injuries” based on a “subjective fear” of harm are not

        irreparable. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416-18 (2013). Movants have not

        identified an irreparable harm that the district court didn’t already address by staying

        the election’s certification.

         III. Movants are not likely to succeed on the merits.
               A.     The North Carolina courts provided months of due process.
               Movants ask to expand a substantive-due-process right never recognized by the

        Supreme Court. Courts must “exercise the utmost care” when expanding substantive

        due process, Washington v. Glucksberg, 521 U.S. 702, 720 (1997), and keep within the

        limits of “history and tradition,” Dobbs v. Jackson Women’s Health Org., 597 U.S. 215, 240

        (2022). Movants rely instead on out-of-circuit caselaw that didn’t perform that historical

        analysis. See Griffin v. Burns, 570 F.2d 1065 (1st Cir. 1978); Bennett v. Yoshina, 140 F.3d

        1218 (9th Cir. 1998). From those cases, they invite this Court to grade the papers of

        state courts, creating a substantive right to vote according to the guidance of election

        officials, not state statutes and the state constitution as interpreted by state courts.

               Movants’ request goes far beyond even what those out-of-circuit authorities

        allowed. Where those decisions emphasized the absence of any cure process, Movants

        argue that North Carolina’s cure process is itself a constitutional violation. And where

        those decisions concerned qualified voters who had been misinformed about election


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        process, Movants seek to compel North Carolina to count the ballots of unqualified

        voters.

               Start with the Never Residents who, under state law, are not qualified voters.

        Movants’ argument “proceeds from the assumption”—now “shown to be

        erroneous”—that these non-residents “have a right to vote in [North Carolina]

        elections.” Holt Civic Club v. City of Tuscaloosa, 439 U.S. 60, 75 (1978). North Carolina

        “has unquestioned power to impose reasonable residence restrictions of the availability

        of the ballot.” Carrington v. Rash, 380 U.S. 89, 91 (1965). It may “restrict the vote” to

        “residents” who are “bona fide.” Dunn v. Blumstein, 405 U.S. 330, 334 (1972). “Eligible

        voters,” under North Carolina law, are “at a minimum,” those who “qualify as bona

        fide residents.” Cf. Bell v. Marinko, 367 F.3d 588, 592 (6th Cir. 2004). Were the Court to

        find that “removal” of the Never Residents’ votes violates federal law, it “would

        effectively grant, and then protect, the franchise of persons not eligible to vote.” Id. As

        to those “non-residents,” there is “no due process violation.” Snead v. City of Albuquerque,

        663 F. Supp. 1084, 1089 (D.N.M.), aff’d, 841 F.2d 1131 (10th Cir. 1987).

               As for the overseas voters, the supreme court’s expansion of the notice-and-cure

        process to a full month for voters to provide photo-ID is enfranchising. The First Circuit

        recognized that “election irregularities” aren’t “usually” unconstitutional “where

        adequate state corrective procedures exist.” Burns, 570 F.2d at 1077. The court found a

        violation where there was “no standard state procedure for handling a claim” and “the

        state court did not confront the questions that retroactive application of its ruling would

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        create.” Id at 1079. Here, the North Carolina Supreme Court expressly considered those

        “questions,” id., expanding the cure period to 30 days after notice, Griffin II, 2025 WL

        1090903, at *3. Movants don’t grapple with this shortcoming in their argument. Instead,

        they insist—contrary to their own best authority—that the state remedial process itself

        is a substantive due process violation. E.g., NCDP Br.12-14.

              Movants can’t square their argument that a cure process is unconstitutional with

        the remedy in Burns—“a new primary” election. 570 F.2d at 1066. Movants’ challenge

        to the state cure process has forced them to ask for a remedy far more intrusive on the

        state courts’ authority to decide state law. The North Carolina courts have ruled that

        the overseas voters cast invalid ballots under state law at the time; Movants insist that

        those ballots must be counted anyway. But they provide no authority to support that

        remedy because a voter relies on incorrect guidance from state officials.

              Other substantive rights Movants propose make even less sense. Only “qualified

        voters have a constitutionally protected right to vote … and to have their votes

        counted.” Reynolds v. Sims, 377 U.S. 533, 554 (1964). No voter has a right to a

        presumption that their ballot is valid. Contra LWV Br.9-10. And the history of election

        contests shows that voters don’t have a right to prevent a once-counted ballot from

        being excluded after a deficiency is discovered.

                     1.     At most, Movants allege a “garden variety” election issue.
              Even if Movants had identified a substantive right at stake, they’ve not shown

        that the state court judgments infringe on that right. All federal “circuit courts have


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        uniformly declined” to intervene on substantive due process grounds in a state election

        “with respect to garden variety election irregularities.” Hutchinson, 797 F.2d at 1283

        (cleaned up). That’s because of “the constitutional recognition” that States “are

        primarily responsible for their own elections,” id. (cleaned up), and that state supreme

        courts are “the final arbiter[s]” of their own State’s laws, Bennett, 140 F.3d at 1225.

        Federal courts are “powerless to review” a state supreme court election decision, “even

        if” they think “it was wrong or contrary to general principles of election laws.” Id.

        “[E]rrors, irregularities, ex post changes in law or procedure, and fraud will not amount

        to a denial of due process if they are of the ‘garden variety’ sort,” even if those

        irregularities “control the outcome” of the election. Election Integrity Project Cal. v. Weber,

        113 F.4th 1072, 1096 (9th Cir. 2024) (cleaned up); accord Nolles v. State Comm. for

        Reorganization, 524 F.3d 892, 898-99 (8th Cir. 2008). The North Carolina courts didn’t

        “change[]” the law—they applied it. Weber, 113 F.4th at 1097. Movants’ complaints of

        “post-election state law rulings,” LWV Br.1, are true of every state election contest and

        are thus “garden variety” issues, Weber, 113 F.4th at 1097.

                      2.     Movants don’t prove “massive” disenfranchisement.
               Even if Movants had identified more than a “garden variety” election issue, only

        “massive” disenfranchisement—analogous to “10 percent of the total votes cast”—can

        sustain a substantive due process claim. Bennett, 140 F.3d at 1226-27 (citing Burns, 570

        F.2d at 1068). And the problems must be so widespread that they “permeate[] an

        election,” Burns, 570 F.2d at 1077, not just a handful of affected voters. As Section III.


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        .A explains, no voter is disenfranchised: the overseas voters will have an opportunity to

        cure their ballots and have their votes counted, and the Never Residents were never

        qualified to vote in the first place.

               Even assuming Movants’ false premise that these groups will be

        “disenfranchised,” Movants fall far short of the “massive” number of votes required to

        upset a settled state process. Bennett, 140 F.3d at 1226-27. Justice Riggs alleges “1,409

        ballots” cast by voters without a photo-ID and “266 ballots” who have never “resided

        in North Carolina” are affected by the Court’s order. Riggs Br.3. That’s less than 0.03%

        of the more than 5.5 million votes cast in the disputed election. The high water mark

        identified by the NCDP is “nearly 5,500 voters” if the court of appeals grants Judge

        Griffin’s motion to clarify the affected counties. NCDP Br.3. But that’s still orders of

        magnitude below the “10 percent of the total votes cast” that is the kind of “massive”

        disenfranchisement Movants need to show, Bennett, 140 F.3d at 1226.

               Moreover, the North Carolina Supreme Court’s order requires all voters who

        cast their ballots without a photo-ID be notified and given the opportunity to cure and

        have their votes counted. That fact further distinguishes Burns, which involved “the

        cancelling of the ballots” of 10% of voters with no opportunity to cure. 570 F.2d at

        1079. There, when election problems “permeate[d] an election,” as Movants have the

        burden to show, the court ordered “that a new [election] be held.” Id. at 1077. No

        Movant here demands that extraordinary relief.



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               B.     The Anderson-Burdick test forecloses Movants’ other constitutional
                      claims.
               Movants acknowledge that Anderson-Burdick applies to their right-to-vote claim,

        but they argue that Mathews v. Eldridge applies to their due-process claim. While this

        Court “has not addressed this issue, all three circuits to consider the question have

        applied Anderson/Burdick instead of Mathews.” Democratic Party of Va. v. Brink, 599 F.

        Supp. 3d 346, 361 (E.D. Va. 2022) (collecting cases). Even if Mathews applied, it’s

        “conceptually duplicative” of Anderson-Burdick and requires the same outcome here.

        New Ga. Project v. Raffensperger, 976 F.3d 1278, 1282 (11th Cir. 2020).

               Under Anderson-Burdick, Movants must satisfy a two-step test. They shoulder a

        heavy burden on each step, because rules that govern elections are “‘inevitabl[e]’” and

        “necessar[y]” if elections are to be “‘honest’” and “‘order[ly].’” Timmons v. Twin Cities

        Area New Party, 520 U.S. 351, 358 (1997). First, Movants must provide “admissible and

        reliable evidence that quantifies the extent and scope” of the burden on the right to

        vote. Common Cause/Ga. v. Billups, 554 F.3d 1340, 1354 (11th Cir. 2009). Second,

        Movants must show that the burden outweighs the State’s interests. Timmons, 520 U.S.

        at 358. Only when an election procedure “subject[s]” voting rights “to severe

        restrictions” does a court apply strict scrutiny. Burdick v. Takushi, 504 U.S. 428, 434

        (1992) (cleaned up). Election procedures that “impose[] only ‘reasonable,

        nondiscriminatory restrictions’” are “‘generally’” justified by “‘the State’s important

        regulatory interests.’” Id.



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                      1.     Movants allege only de minimis burdens.
               There’s no constitutional right to be free from “the usual burdens of voting.”

        Crawford, 553 U.S. at 198 (plurality op.). Even “the inconvenience of making a trip to

        the BMV, gathering the required documents, and posing for a photograph” to obtain

        an identification is not “a significant increase over the usual burdens of voting.” Id. at

        198. Movants argue that complying with the cure process is a “burden[].” Riggs Br.13.

        But “the notice and cure process in this case can never be said to disenfranchise a voter

        because, if a voter follows instructions, their vote will be counted,” Brink, 599 F. Supp.

        3d at 362. A “[r]easonable regulation of elections” “does require [voters] to act in a timely

        fashion.” Burdick, 504 U.S. at 438.

               Movants argue the notice-and-cure deadline is too early. But the date is

        “reasonably related to the state’s need to process absentee ballots in a timely fashion.”

        Brink, 599 F. Supp. 3d at 363. And the court-ordered 30-day cure period is ten times

        longer than state law ordinarily allows. See N.C.G.S. §163-230.1(e1). Movants also

        speculate that a voter could miss the cure deadline because of postal delays, but “any

        postal delays would also be out of the state’s control.” Brink, 599 F. Supp. 3d at 362

        n.20; see also McDonald v. Bd. of Election Comm’rs of Chi., 394 U.S. 802, 809-10 & 810 n.8

        (1969). Movants haven’t “cited any authority suggesting that a State must afford every

        voter multiple infallible ways to vote.” Tex. LULAC v. Hughs, 978 F.3d 136, 146 (5th

        Cir. 2020).




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                        2.    Enforcement of North Carolina’s election laws is justified by
                              compelling state interests.
               Where the State’s election procedures impose only a minimal burden,

        “‘important regulatory interests are generally sufficient to justify’ the restrictions.”

        Burdick, 504 U.S. at 434. The State need only “‘articulate its asserted interests.’”

        Libertarian Party of Va. v. Alcorn, 826 F.3d 708, 719 (4th Cir. 2016). Here, the North

        Carolina Supreme Court agreed that the State had compelling interests in not counting

        unlawful ballots.

               First, North Carolina has a compelling interest in protecting its citizens from

        “unlawful votes” which “disenfranchise[] those voters who cast legal ballots.” Griffin II,

        2025 WL 1090903, at *2 (cleaned up). “‘[T]he right of suffrage can be denied by a

        debasement or dilution of the weight of a citizen’s vote just as effectively as by wholly

        prohibiting the free exercise of the franchise.’” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006)

        (cleaned up).

               Second, the State has a compelling interest in “‘a fair count’” which must be

        “‘held inviolable to preserve our democracy.’” Griffin v. N.C. State Bd. of Elections, 2025

        WL 1021724, at *7 (N.C. Ct. App. Apr. 4, 2025) (“Griffin I”). “There is no question

        about the legitimacy or importance of the State’s interest in counting only the votes of

        eligible voters.” Crawford, 553 U.S. at 196. “[D]ue to the minimal burden placed on

        voters” and North Carolina’s numerous “interests that multiple courts have upheld as




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        important in the past,” Movants “fail to state a claim for relief as a matter of law.” Brink,

        599 F. Supp. 3d at 364.

               Third, the 30-day deadline is “reasonably related to the state’s need to process

        absentee ballots.” Id. at 363. “Elections must end sometime.” DNC v. Wis. State

        Legislature, 141 S. Ct. 28, 28 (2020) (Gorsuch, J., concurring). And the notice-and-cure

        procedure furthers the State’s weighty interest in ensuring that only lawful votes are

        counted. Eu v. S.F. Cnty. Democratic Centr. Comm., 489 U.S. 214, 231 (1989).

               C.     Routine election challenges do not violate the Equal Protection
                      Clause
               Movants’ equal-protection claims fail at the outset because the Anderson-Burdick

        test, not Bush v. Gore, applies to equal-protection challenges to state law. “The Supreme

        Court has addressed [Equal Protection] claims” against state election laws using the

        “single analytic framework” of Anderson-Burdick. Dudum v. Arntz, 640 F.3d 1098, 1106

        n.15 (9th Cir. 2011). So Movants’ equal-protection claims fail for the same reason their

        other claims fail. See supra Section III.B. In any event, Bush was “limited to the present

        circumstances” of that case. 531 U.S. 98, 109 (2000). And for at least four other reasons,

        Bush doesn’t apply.

               First, “Bush is of limited precedential value.” Wise, 978 F.3d at 100 n.7. Circuit

        courts have questioned whether Bush applies “to more than the one election to which

        the Court appears to have limited it.” E.g., Lemons v. Bradbury, 538 F.3d 1098, 1106 (9th

        Cir. 2008). “[I]n the context of a Presidential election, state-imposed restrictions



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        implicate a uniquely important national interest.” Anderson v. Celebrezze, 460 U.S. 780,

        794-95 (1983). But that uniquely national interest isn’t implicated here. Outside the

        context of “an election for the President of the United States,” “comity and respect for

        federalism compel us to defer to the decisions of state courts on issues of state law.”

        Bush, 531 U.S. at 112 (Rehnquist, C.J., concurring).

               Second, “Bush applies” if at all, “only in ‘special … circumstances’ not present

        in this case.” Kim v. Bd. of Educ., 641 F. Supp. 3d 223, 236 (D. Md. 2022), aff’d, 93 F.4th

        733 (4th Cir. 2024). Bush is cabined to “the special instance of a statewide recount under

        the authority of a single state judicial officer.” 531 U.S. at 109. That recount provided

        election oﬀicials with no standards by which to determine voter “intent” when

        examining ambiguously marked ballots, resulting in disparate treatment of similarly

        situated voters across counties. Id. at 105-06. Here, the ID and residency requirements

        are “suﬀiciently uniform and speciﬁc to ensure equal treatment of voters.” Lemons, 538

        F.3d at 1106. There’s no ambiguous enforcement.

               Third, Bush reaffirmed that, to address the “many complexities” of election

        processes, “local entities” may “develop different systems.” Id. “[T]he methods by

        which a voter casts his vote may vary throughout the state” without violating the Equal

        Protection Clause. Hendon v. N.C. State Bd. of Elections, 710 F.2d 177, 181 (4th Cir. 1983).

        “Even when boards of elections ‘vary … considerably’ in how they decide to reject

        ballots, those local differences in implementing statewide standards do not violate equal



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        protection.” Donald J. Trump for President, Inc. v. Sec’y of Pa., 830 F. App’x 377, 388 (3d

        Cir. 2020) (quoting Ne. Ohio Coal. for the Homeless v. Husted, 837 F.3d 612, 635-36 (6th

        Cir. 2016)). Under Movants’ theory, the Equal Protection Clause requires every

        candidate contesting an election to file in every county across the State. But given

        various constraints, candidates routinely file in only a handful of counties. See Joshua A.

        Douglas, Procedural Fairness in Election Contests, 88 Ind. L.J. 1, 18 (2013).

               Fourth, proving a violation of the Equal Protection Clause requires allegations

        that the State “place[d] an onerous burden on voters’ exercise of their right to vote.”

        Hendon, 710 F.2d at 181. But as explained in Section III.B, supra, the notice-and-cure

        process doesn’t burden the right to vote and is supported by compelling state interests.

         IV. The equities and public interest weigh against interfering with state court
             judgments.
               The equities have only moved further in Judge Griffin’s favor since this case was

        last before the Court. Movants now ask the Court to require the Board to count ballots

        that are “unlawful” under state law. Griffin I, 2025 WL 1021724, at *14. But “[t]o permit

        unlawful votes to be counted along with lawful ballots in contested elections effectively

        ‘disenfranchises’ those voters who cast legal ballots.” Griffin II, 2025 WL 1090903, at *1

        (cleaned up). The public has an interest in preserving the integrity of its elections. Purcell,

        549 U.S. at 4. And the equities favor ensuring that unlawful votes don’t dilute lawful

        votes. Reynolds, 377 U.S. at 555.




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               The public interest is also served by allowing the North Carolina courts to

        enforce state law adopted by the North Carolina General Assembly. Movants would

        prefer to enforce executive regulations. E.g., Riggs Br.12. But “allow[ing] an executive

        branch official to negate the duly-enacted election laws of a state” is “toxic to the

        concepts of the rule of law and fair elections.” Carson v. Simon, 978 F.3d 1051, 1061 (8th

        Cir. 2020). “[I]t is in the public interest to maintain the integrity of elections by ensuring

        the ability to separate and count only those ballots cast according to law.” Id.

               Finally, the equities weigh against intruding on the state election contest. To

        enjoin enforcement of state court judgments would “intrude on the role of the states,”

        “raise the possibility of inconsistent judgments concerning elections,” “erode the

        finality of results,” “give candidates incentives to bypass the procedures already

        established,” and “involve federal courts in the details of state-run elections.”

        Hutchinson, 797 F.2d at 1285. For these reasons, “the balance of harms weighs in favor

        of preserving the ability to uphold the duly enacted election law” of North Carolina.

        Carson, 978 F.3d at 1061.

                                             CONCLUSION
               This Court should deny the motions.




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         Dated: April 21, 2025                    Respectfully submitted,

                                                     /s/ Thomas R. McCarthy

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                                  CERTIFICATE OF COMPLIANCE
               This motion complies with Rule 27(d)(2)(A) because it contains 5,190 words,

        excluding the parts that can be excluded. This motion complies with Rule 32(a)(5)-(6)

        because it has been prepared in a proportionally spaced face using Microsoft Word 2016

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               Dated: April 21, 2025                          /s/ Thomas R. McCarthy




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                                    CERTIFICATE OF SERVICE
               I filed this brief with the Court via ECF, which will electronically notify all

        parties.

               Dated: April 21, 2025                          /s/ Thomas R. McCarthy




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